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                                      TRADING ACTIVITIES BY SANJAY SINGH
                                                   TD Ameritrade
                                  Royal Bengal Logistics, Inc. - Account ##253-343647
Funds In                                                                                          $16,542,800.00
Funds Out                                                                                          $8,444,001.00
Gain/Loss                                                                                                                -$8,098,799.00
                                         Sanjay Singh - Account #493-047115
Funds In                                                                                           $12,982,700.00
Funds Out                                                                                           $9,018,450.00
Gain/Loss (Including Wellbull ($16,700)+Robinhood+Coinbase ($54,062.52)+Interactive Brokers ($600)                       -$3,964,250.00


                            Robinhood - Sanjay Singh - Account # 289670664653
            Funds From North America Aerospace, LLC - Bank of America Account #898119847858)
Funds In                                                                                   $1,121,545.00
Funds Out                                                                                    $659,500.00
Gain/Loss                                                                                                                  -$462,045.00



                                Robinhood - Sanjay Singh - Account #717017164
                       Funds From Sanjay Singh - Wells Fargo Bank Account #5497985605)
Funds In                                                                                              $40,850.00
Funds Out                                                                                              $2,800.00
Gain/Loss                                                                                                                   -$38,050.00

                     Fidelity Brokerage Services, LLC -Sanjay Singh - Account #Z25-515873
                        Funds From Sanjay Singh - Truist Bank Account #1100028750534
Funds In                                                                                             $350,000.00
Funds Out (To Suryansh Anand - Bank of America Account #XXXXXX4857)                                   $23,500.00
Account Balance as of 3/31/2024                                                                           $15.24
Gain/Loss                                                                                                                  -$326,484.76

                                          Trade Station - Account #11663780
                                  Truist Bank - Sanjay Singh Account #1100028750534
Funds In                                                                                              $25,000.00
Funds Out                                                                                                  $0.00
Account Balance as of 5/31/2024 (Last time traded was on 2/8/2024)                                        $11.69
Gain/Loss                                                                                                                   -$24,988.31
                                                  Webull Financial
                        Funds From Sanjay Singh - Wells Fargo Bank Account #5497985605
Funds In                                                                                               $1,200.00
Funds Out
Gain/Loss

                                              The Vanguard Group, Inc.
Funds In                                                                                                 $100.00
Funds Out                                                                                                  $0.00
Account Balance as of 6/30/2024                                                                          $105.55
Gain/Loss                                                                                                                      $105.55
                                             E*Trade By Morgan Stanley
Funds In                                                                                           $8,489,024.38
Funds Out                                                                                          $8,818,116.43
Gain/Loss                                                                                                                  $329,092.05
TOTAL GAIN/LOSS FROM TRADING                                                                                        -$12,585,419.47
